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SR Toe
LAWRENCE RUSSELL N DISTRICTS
Petitiooner/Plaintiff Case Nos. 17-CR-40
. 18-CR~105
Vv .

UNITED STATES OF AMERICA
Defendant/Respondent

 

DECLARATION OF LAWRENCE RUSSELL
I Lawrence Russell, hereby state that on Friday February 8, 2019.
I specifically, instructed Mr. Mark A. Foti, to file a timely notice
of appeal on my behalf, and Mr. Foti, did agree to file an appeal.,
but for some unknown reason he failed to do So. Mr. Foti, did have a
deliberate habit of disregarding my request of him.
I clearly explained to Mr. Foti, that I never had a “gun" nor was

a "gun" reasonably foreseeable to me. Mr. Foti, never told me that Sec-

tion 2D1.1(b)(1), was a discretionary sentencing enhancement.

Mr. Foti, declaration is a complete "lie" I am confident that I
clearly instructed Mr. Foti,to file an appeal on my behalf. Mr. Foti,
never explained to me, nor was I ever informed that Section 2D1.1(b)
(1), was a discretionary and not mandatory. I did ask Ms. Tamala E.
Daniel, to call Mr. Foti, and remind him.

To file the appeal that I requested him to file. Mr. Foti,did..,
did absolutely nothing that would show how he effectively represented
me. I told Mr. Foti, to orrally stipulate at sentencing the First
Step Act of 2018, Pub. L. 115-391, 603(b), 132 Stat 5194, 5239. Mr.

Foti, told me that I was aot eligible.

 
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The Federal Bureau Of Prisons says that I am eligible for the
First Step Act Of 2018 credits. Mr. Foti, would not bring to the Courts
attention, that I have “asthma” and I'm a "pre-diabetic" he deliberately

ignored my every request only to assist the government.

I'm willing to testify, before the Court and prove that Mr. Foti,
did not effectively represent me, nor did he file a timely notice of

appeal as I instrcuted him to do, Mr. Foti, failed to properly object

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to Section 2D1.i€b)(1), in that, the "sun" was not "reasonably foresee-

able." To me.

The "gun" is not charged in the indictment, nor is the "gun" an

essential element of the offense actually charged by the government.

I Declare tor certify, verify or state), under the penalty of perjury
that the foregoing is true. See, 28 U.S.C. §1746.

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#2741-055/MA -87-%

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

 

LAWRENCE RUSSELL L
PETITIONER

Vv. CASE NO. 17-CR40-V
18-CR-105-V

UNITED STATES OF AMERICA

PETITIONERS REPLY TO ATTORNEY MARK A. FOTI RESPONSE
TO ISSUES REGARDING REPRESENTATION ON INDICTMENT
Numbers 17-CR-40 and i8-CR-105

 

FIRST, I WOULD. LIKE TO REFUTE THE RESPONES MADE BY Attorney
Mark A. Foti to number (1), (3), and (4) of his Delaration even
though I am not a lawyer and I am working Pro-Se on this motion.
I see that he used the words "I DO NOT RECALL" in responses (1),
(3), and (4).
RECALL (DEF;3)-REMEMBER, RECOLLELT-ed thier last meeting)

I do not believe that "I DO NOT RECALL" is any kind of defense
to stand on, but in this case it's being used as more of a tactic
because, Mr. Foti did not know what letters or information your Honor,
that he already had in his possesion from me. So to say "I DO NOT RECALL
WAS THE BEST WAY FOR HIM TO STRADDLE THE FENCE WITH HIS RESPONSES.
How can he as an attorney not recall anything and in response(2)
of what he did recall or should I say he initially knew about my
concerns~ LIED!

MR. Foti, a well-Respected and experienced member of the CJA
Panel of Attorneys Not only neglected his responsibilities to me
as an defendant(Client), but also to the oath taken to up hold the
CONSTITUTION OF THE UNITED STATES OF AMERICA.
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IN MR. FOTI"S SWORN DELARTION
Document 148 *Filed 04/03/20 page 2 Of 4(¢2)

To whether counsel received from Russell written communications

 

as described in Docket item 132 at 9(footnote), or any other
communication, expressing Russell's concerns about the presentence
Investigation Report:

MR. Foti swore that he didreceive communication regarding concerns
That MR. Russell inially had with the Presntence Investigation Report
and that he was also aware of one instance when I sent a copy of

the same initial concerns to probation.

 

Now if MR. Foti received communication from me or whom ever,
then why didn't he provide a copy of that communication, or corespondence
(letter or phone records of that call) to the courts or your Honor
as proof? It was not provided, because you can't provide what you
do not have.

What MR. Foti did not expect was for MS. Natalie Harrington/
Natalie Whitman to provide your Honor,with the e-mail of their
correspondance. Those e-mails together with the letters I wrote to
probation and your Honor, in the month oe October 2018, contradicts

his response.

PETITIONER'S LETTER TO MS. NATALIE B. WHIMAN OF
PROBATION. DOCUMENT 42 *SEALED* EILED 6/15/2020 page 12 of 34

In my opening paragrah I stated in lines(7-11) that I have not
been able to reach my attorney but once, that's when i took the plea.
So I'm wrting her with my concerns in respect to the sentencing
factors and report. Also in the same (Document) letter on page
(14 of 34)¢98 personal family data, at the bottom of the page,

I stat in lines (1-5) that since I've taken this plea, I have not
heard from my attorney.but once and that was at the Presentence
interview with her(MS. Whitman)

So if the time I heard or saw mt attorney was at that(PSR) interview,
then how could MR. foti know about my initial concerns? I wrote

to MR. Foti a week before asking him torcome see me. I sent my
concerns straight to MS. Whitman(Probation) not him, due to the
deadline for the concerns to be in and the fact of being ignored

for months,

 
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PETITIONER'S LETTER TO THE HONORABLE JUDGE
LAWRENCE J. VILARDO

 

Document 42 *SEALED* filed 6/15/ 2020. Page(18 of 34)

I stated in the first paragrah lines(3-15) that since I
have taken this plea I felt like my attorney has turned his back
on me. I took this plea on 7/26/2018, from that date, I saw MR.
Foti(1) time and that was at the Presentence Report Interview.
I have tried to contact him by mail, phone and through family.
He has not returned any calls or has not wrote me back once in
about 88 days!
I'M schedule to be sentence on 11/29/2018 and I've just receieved
my copy of my Presentence Report (4)days latexof what the sentencing
timeline sheet deadline said ("NO ATTORNEY CONTACT TO GO OVER MY

CONCERNS!") and yes, I have concerns! So I wrote my concerns down

 

and mailed them to MS. Natalie B. Whitman of the probation department
myself. As you can see I said "NO ATTORNEY CONTACT TO GO OVER MY
CONCERNS AND YES I HAVE CONCERNS", so how did MR. Foti know about

my inital concerns.if i never saw or talked to him during that time?

 

MS. NATALIE B. WHITMAN'S E-MAIL TO MR.MARK A.- FOTI
DOCUMENT 42 *SEALED* FILED 6/15/2020 PAGE(32 of 34)

In this E-Mail MS. Whitman stated that she received correspondence
from MR. Russell Regarding the PSR and that she would provide
him with a copy of the letter on October 29, 2018.
MR. Mark A. Foti's response to the e-mail sent by MS.Natalie B. Whitman
:Document 42 *SEALED* Filed 6/15/2020 page (31 of 34)

In MR. Foti's response to the October 29, 2018 e-mail saying "thank you
for sending that.’ MR. Foti also said that he dose plan to
come see me, hopefully this week and that he appreciated her for

>
sending the letter to him so he know what concerns to addressl

 

With MR. Foti own declaration, together with the evidence provide

not only contradicts his response, but also shows maliious intent

 

and the willing ness to lie no matter how it effects my life.

 

WHICH-MEANS M@.FOTI NEVER HAD CommuUNICATION, OR KNEW ABovT ANY TINITAL CONCERNS

UNTIL HE was CONTACTED BT MS. WaITMAN oF PeURATION .”

 

 

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So in reply to MR. Foti's response, I believe that he has not only
proven my claim of Ineffective Assistance of Counsel, but also his
inability to care, or be truthful at all with the courts or my case.
The government stated that my motion had no merit, Factually or
Legally and should be DENIED.

Now I believe with the case's, and evidence provided that your Honor
will find that not only dose my motion have merit both factually

and legally, but it now has the element of “perjury” on behalf of MR.
Mark A. Foti,

So in closing I ask that your Honor Vacate this sentence without

Prejudice.
Case 1:18-cr-00105-LJV-JJM Document 53 Filed 11/03/20 Page 7 of 21

NATURE OF THE RELIEF SOUGHT

Petitioner, Prays that this Honorable Court (GRANT), This §2255-
motion or hold an "Evidentiary Hearing" in light of the U.S. Supreme
Court's decision in, Garza v Idaho, 139 S.Ct. 738, 749 (2019). Where
Petitioner, made a timely request to his trial counsel Mr, Foti to
file a timely notice of appeal, and counsel through neglect failed to

file an appeal.

Counsel, failed to make an appropriate ojection to the §2D1.1
(b)(1), Firearm enhancement. Where Petitioner, was never made aware
that §2D1.1(b)(1), was a "discretionary Sentencing enhancement" and

that, the "firearm" was not "reasonably foreseeable" by Petitioner,

Respectfully Submitted
I

Laveorne Russell

#27413-055/MA~87U

Federal Correctional Inst.

Butner-Medium II

Post Office Box 1500
Butner, North Carolina 27509-1500.

 

GERTIFICATE OF SERVICE
I HEREBY CERTIFY, that a true and correct copy of the foregoing
has been furnished by U.S. Mail TO: Laura Higgins (AUSA) @ U.S. Att-—
orney's Office/Federal Centre. 138 Delaware Avenue. Buffalo, New. York

14202. On this /0_, day of Lb » 2020. I on this..,

same date did place this documentation into the hands of Prison offi-
cials for legal mailing. See, Houston y Lack, 487 U.S. 266 (1988).

Respectfully Submitted, ae
a tbawrence Russell

#27413-055/MA-87U
Federal Correctional Inst.

Butner-Medium II
Post Office Box 1500
Butner, North Carolina 27509-1500.

 
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pate:. “A-2Zb-ZLZD
Clerk Of District Court

2 Niagara Square/Room#200
Buffalo, New York 14202.

 

Russell v United States Of America
Case Nos. 17-CR40-V
18-CR-105-V

 

NOTICE TO THE CLERK OF THE DISTRICT COURT

Dear Clerk,
Enclosed please find my "Rply" te the Government's answer
will you notify me once you receive this documentation, Your time

and consideration are both very much appreciated.

Respectfully Submitted

wm ne . ee A TE
* \awrence Russell
#27413-055/MA-87U
Federal Correctional Inst.
Butner-Medium II
Post Office Box 1500
Butner, North Carolina 27509-1500.
Case 1:18-cr-00105-LJV-JJM Document 53 Filed 11/03/20 Page 9 of 21

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

 

LR ee eee pial — Case Nos,17-CR40-V
ecictioner LALNCIC 18-CR-105-V

VS.
UNITED STATES OF AMERICA
Defendant/Respondent

 

PETITIONER'S REPLY TO THE GOVERNMENT'S ANSWER
MOTION TO VACATE SET ASIDE OR CORRECT SENTENCE
FILED PURSUANT TO 28 U.S.C. §2255

 

COHES NOW; The Petitioner, Lawrence Russell, in proper person,
and pursuant to 28 U.S.C. §2248. And The Rules Governing §2255-Proce-
edings For The United States District Court's 12. Respectfully, files
this Reply/Objection to the Covernment's Answer that was filed with
this Honorable Court on July 15, 2020. See, (Document 158). To the now
pending 28 U.S.C. §2255-Motion To Vacate Set Aside Or Correct Sente-

nce. Petitioner, avers to the following facts.

In the Government's Answer. See, (Doc. 158, Page's 5 and 6 OF
12). The Government, says in part;

Mr. Foti, had no responsibility to file a Notice Of
Appeal because Russell, never directed him to do so.
Russell's motion fails because the allegations he

sets forth in this regard through Ms. Daniel's bia-
sed affidavit are clearly refuted by the sworn facts
in Mr. Foti's declaration. Docket 148. Next, Russell's
trial counsel, Mark Foti, Esq, was not deficient in
this matter. He properly counseled the defendant in
advance of the Plea Agreement, including on the appli-
cation of the Sentencing Guidelines the terms and con~
sequences of the Plea Agreement, and the appellate
waiver within the Plea Agreement. Further, the alleged
failures by defense counsel were not prejudicial be-
cause even if true, they were remedied by the Court's
own thorough Rule 11 plea colloquy with Russell on
July 26, 26, 2015. When the pleas of guilty were en-~
tered.
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Respectfully, the above portion of the Government's answer, is now
direct proof,

Petitioner's attached affidavit is direct proof and it
does refute Mr. Foti's false declaration. Petitioner's, claims are all
supported by law and facts.

In the Government's answer. See, (Doc. 158, Page 6 and 7 of 12).
The Government, says in part;
Mr. Mark A. Foti, agreed to file an appeal, but thro-

ugh neglect [] failed to do so. Docket 132, p. 4. For
his part, Mr. Foti swears that Russell never directed

him to file an appeal, they never discussed any poten-
tial issues that could be pursued on appeal, and that
no one contacted him on Russell's behalf to direct that
a Notice of Appeal be filed. Docket 148.

In Garza v Idaho, 139 S.Ct. 738, 749 (2019). The U.S. Supreme Co-
urt held that the, Flores-Ortega, presumption of prejudice applies..,
even when a defendant has signed an appeal waiver as part of his plea
agreement. See, 139 S.Ct. at 749-50. ("An appeal waiver does not bar
claims outside its scope").

As long as a defendant can show that counsels constitutionally
deficient performance deprived him of an appeal that he otherwise wo-
uld have taken, Court's are to presume "prejudice" with no further
showing from the defendant of the merits of his underlying claims.
Again see, Roe v Flores-Ortega, 528 U.S. 470, 484 (2000).

Specifically, Petiitoner, is entitled to relief under control-
ling, Second Circuit precedent. See, United States v Fuller, 332 F.3d
60, 65 (2d Cir. 2003). Petitioner, “oyvears" that he instructed Mr.

Foti, to file an appeal on his behlf. See, Campusano v United States,

442 F.3d 770, 775 (2d Cir. 2006).
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In the Government's answer. See, (Doc. 158, Page 7 of 12). The

Government,

says in part;

To begin, the government observes that even now in his

§2255 motion, Russell does not state expressly what is-
sue he asked Mr. Foti to pursue on appeal. In light of

Mr. Foti'ts declaration, Russell's account of communica-
tions between Ms. Daniel and Mr. Foti should be rejec-

ted as incredible.

The Government, does not understand the law. Again, Court's are

to presume "prejudice" with no further showing from the defendant of

the "merits"

332 F.3d 60,

of his underlying claims. See, Wnited States v Fuller,

65 (2d Cir. 2003); Also see, Garzo v Idaho, 139 S.Ct.

738, 749 (2019). See, (Doc. 158, Page 7 of 12).

The Government, continues with its nonsense all based on specu-

lation and conjecture saying in part;

Mr. Foti asserts in his declaration that his secreta~
ry does not have any memory of the conversation Ms.
Daniel describes. Further, his own review of his off-
ice's telephone logs reveals that Ms. Daniel's tele-
phone number did not contact his office during the
period she swears she directed the filing of an appe-
al on Russell's behalf, nor did any number with the
same out-of-state area code (919).

Conveniently, counsel only "states" but he does not provide his

entire telephone logs for review, because he is "lying"Ms. Daniel's

affidavit is signed under tne penaity of perjury as weil as the peti-

tioner's.

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Government's answer. See, (Doc. 158, Page 7 of 12). The Government,

says in part;
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Had Russell wished to file a Notice Of Appeal, his fre-

quent and candid pro se correspondence demonstrates

that he was not shy to advocate on his behalf. See, e.g.
Docket 155, P. 11 (letter following up in pursuit of re-
cords request). [It is incredible that Russell would not

have called Mr. Foti or written a letter himself, in fa-
vor of relying on a third-party to transmit this essen-

tial directive.

The Government, at this point attempts to explain what is in the
Petitioner's mind or exactly how he should have went about reminding
counsel to file an appeal that he had been instructed to initially
file on Petitioner's behalf. Petitioner, took every necessary step.,
that was available to him at that time to no avail.

The Government, can cite no Second Circuit authority that sup-
ports her vyiew only speculation and conjecture. In the Govern-
ment's answer. See, (Doc. 158, Page 7 of 12). The Government, says
in part;

Ms. Daniel asserts that she made her phone call to Mr.
Foti's office on February 12, 2019, four days after the
sentencing. Then, 13 more days passed between February
12, 2019 and February 25, 2019 when the final judgment
was issued and filed on the docket. Then 14 more days
passed between when the judgment was entenred and when
Russell's right to appeal expired. The required timing
for filing a Notice of Appeal was a fact Russell was
advised of by the court at sentencing, consistent with
its statutory obligation. FED. R. CRIM. PRO. 32(5)C1)
(B); Docket 135, p. 48. And yet over those 27 days, Ru-
ssell has alieged his first and only effort to con-
tact Mr. Foti was made by his fianc'te through a mess~
age left with a secretary.

example, in Wins v United States, 225 F.3d 186, 190 (2d Cir. 2000).

 

The Second Circuit, explained that the relevant inquiry is when a duly
diligent person in Petitioner's circumstances would have discovered

facts supporting his claim. Id.
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This does not require the maximum feasible diligence only due
or reasonable diligence. Id at 190. Here, Petitioner, has exercised
the required reasonable diligence. On the day of sentencing Petiti-
oner, directly informed Mr. Foti, that he wanted to file an appeal.
See, Fed. R. App. P. 4(b)(1).

In order, to show that counsels failure to file an appeal amo-
unted to ineffective assistance, the Petitioner must demonstrate that
he requested that his attorney file an appeal. See, McHale v United

avit is

States, 175 F.3d 115, 118 (2d Cir. 1999). Petitioner's affi

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attached as evidence.
In the Government's answer. See, (Doc. 158, Page's 7 and 8 of
12). The Government, says in part;

Even having received no call back from Mr. Foti
Russell has not alleged he persisted with addi-
tional phone calls, letters, or other conversa-
tions wherein his directive to file a Notice Of
Appeal was communicated.

Respectfully, what "Law" says that Petitioner must persist?
all that Petitioner, must legally do, is follow the direction of the
U.S. Supreme Court and the Second Circuit. See, Flores-Ortega, 528

U.S. at 480. First, counsel has a duty when there is reason to think

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dant would appeal. See, (Dac. 155).

Second, counsel has a duty when there is reason to think that
this particular defendant reasonably demonstrated to counsel that
he was interested in appealing. Id. See, Petitioner's affidavit as

evidence supporting this claim. In the Government's answer. See,

(Doc. 158, Page 8 of 12). The Government, says in part;

Curiously too, although Russell claims his direc-
tive was acknowledged by Mr. Foti and that he

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agreed to file the appeal, Docket 132, P. 4. Ms,
Daniel's affidavit states only that she left a
message containing the directive with Mr. Foti's
secretary. Docket 132, p. 12. Ms. Daniel's affi-
davit does not assert that she ever spoke direc-
tly with Mr. Foti, nor that he acknowledged to

her he received Russell's directive, nor that Mr.
Foti actually agreed to file the appeal as Russell
claims. Id. This inconsistency signals a lack of
credibility in Russell's assertions about Mr. Foti
having acknowledged Russell's directive and having
agreed to file the appeal.

Specifically, there is no inconsistency in Petitioner's claims.

A review of Petitioner's own affi-
davit (See it attached), support that Mr. Foti, had been directly
instructed on February 8, 2019. To file an appeal.

In the Government's answer. See, (Doc. 158, Page 8 of 12). The
Government says in part;

Should this Court determine that Russell did in-
struct Mr. Fotti to file a Notice Of Appeal, the
appropriate remedy is not to vacate or set aside
the sentence, but instead allowance to pursue a

delayed appeal.

Respectfully, this Honorable Court does not need direction or
instruction from the Government. The Government, has "conceded" at
this point the "law" and Petiitoner's affidavit show that Petiti-
oner, explicitly requested Mr. Foti, to make the appropriate ob-
jections and timely file an appeal on his behalf.

In the Government's answer. See, (Doc. 158, Page's 8 and 9 of
12). The Government, says in part;
In’hisimotion, Russell comptains that hisidefense
counsel was deficient by deliberately failing to
object to the dangerous weapon enhancment under U,
S.S.G. §2D1L.1(b}(1). Docket 29, p. 5. The terms of
the Plea Agreement, however, specifically forecl-

ose this option and established that Russell admit-
ted to his possession of a handgun and that

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an

he agreed that §2D1.1(b)(1) applies. Docket 89,99
8(a); 14. At the plea colloquy the government sum-
marized his criminal conduct to include;

Specifically, the Grand Juries indictment does not include and or
allege a violation of 18 U.S.C. §922(g)(1), or 18 U.S.C. §924(c). The
t

government, use an "erroneous" Plea Agreement to constructively amend

the indictment. See, Stirone v United States, 361 U.S. 212, 218 (19

 

60). And failed to comply with the law.

For example, in Santobello v New York, 404 U.S. 257 (1971). The

 

United States Supreme Court explained in part;

For a guiity plea to be entered knowingly and inte-
lligently, the defendant must have not only the men-
tal competence to understand and appreciate the na-
ture and consequences of his plea, but he also must
be reasonably informed of the charges against him
the factual basis underlying those facts.

 

Specifically, "nothing" in the Plea Agreement and "nothing" in Mr.
Mark A. Foti's fabricated declaration, show that Petitioner, had been
advised or informed that §2BDL.1¢b)(1), was "advisory" and not “manda-

tory." See, United States v Booker, 343 U.S. 226 (2005). Petitioner,

 

suffered "Prejudice."

In Henderson v Moruzan, 426 U.S. 637, 645 (1976). The United Sta-

 

tes Supreme Court, invalidated a guilty plea to second degree murder
where the defendant was not informed of the "mens rea" requirement.,,
Such a plea, the Court held, could not support a judgment of guilt.
Unless it was voluntary.

In a constitutional sense and the plea could not be voluntary,
i.e. an intelligent admission that he committed the offense, unless
the defendant received “real notice" of the nature of the charges

against him. Id at 645-46.
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In the Government's answer. See, (Doc. 158, Page 9 of 12). The

Government, says in part;

When asked by the Court, [i]s everything [the gov-
ernment] said about your conduct true and correct?
the defendant responded unequivocally. "[y]Jles,your
honor." Id After the government described how it
would prove its case by stating, among other things,
"the FBI source would be asked to describe the tra-
nsaction on at least one occasion in May of 2014
when the source saw the defendant in possession of
a handgun during the transaction." The Court asked
the defendant, do you disagree with anything [the
government] just said? to which the defendant res-
ponded, "{N]o, your hinor, Id at 35-36.

Specifically, the so-called "FBI source" was never presented to
the Grand Jury. The "type of hand gun" was never mentioned and theres
é strong reason to believe that the government did not believe it's
own “so-called "FBI source." And nothing described is an essential
element of 21 U.S.C. §846.

The Government, Mr. Foti, nor the Court ask Petitioner, “do you

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know that §2D1.1(b)(1), is “advisory" and not “mandatory.” Petitioner,

suffered "Prejudice" in that, theres a reasonable probability that had
he been aware, he would not have plead guilty to a discretionary sen-
tencing enhancement.

See, Hill v Lockhart, 474 U.S. 52-59 (1985);Strickland v Washing-

ton, 466 U.S. 668, 694 (1984).

Im the Government's answer. See, (Doc. 158, Page 9 and 10 Of
12). The Government, says in part;

Moreover, Mr. Foti's declaration makes clear that
he discussed the §2D1.1(b)(1), enhancement with
Russell, and that Russell decided to enter the
plea realizing that it was part of the Plea Agr-

eement. Docket 148, p. 3. None of the pro se cor-
respondence by Russell to the Court, including a
letter to United States Probation Officer Natalie
Whitman (Docket 155, pp. 12-15).
Case 1:18-cr-00105-LJV-JJM Document 53 Filed 11/03/20 Page 17 of 21

mention an objection to the application of §2D1.1(b)
(1) 2. As Mr. Foti’observes, "I can confidently say
that Mr. Russell was aware of which objections I wo-
uld ultimately raise with Probation and the Court,
and that was not one of the objections we had dis-
cussed. Docket 148, p.3.

Respectfully, if Mr. Foti, actually discussed the §2D1.1(b)(1)..,
enhancement with Petitioner, then why doesn't he mention in his decl-
aration that he explained that the guidelines were "advisory." See,
United States v Booker, 543 U.S. 220 (2005)("Explaining that the ad-
visory sentencing provisions that recommend, rather than require the

selection of a particular sentence,.").

Mr. Foti, is "lying" to this Honorable Court. If the corres~-
pondence is not legible, then why would government counsel rely on
it? The record is clear that Mr. Foti, does not
understand the Sixth Amendment of the U.S. Constitution.

Mr. Foti, “works" for Petititoner, not against him and when he
makes a legally sound request, i.e. "make the proper objections and
file a Notice of Appeal." All of which is deeply rooted in his duty,
in the Sixth Amendment. See, Strickland v Washington, 466 U.S. 668,
694 (1984). Mr. Foti, is ineffective.

In the Government's answer. See, (Doc. 158, Page 10 of 12). The

Government, says in part;

Even if tbe Court credits that Russell raised the
objection with Mr. Foti prior to the Plea Agree-
ment, Russell had every opportunity to state his
objection and choose not enter the Plea Agreement.
No one required him to admit to those facts, He
did so freely and voluntarily and in the company
of his attorney. If the Court alternatively cred-
its that Russell raised the objection with Mr.
Foti after the plea agreement, filing an objection
to the PSR's application of §2D1.1(b)(1) would
have constituted a breach of the plea agreement,
given the government's statement of proof, and

the Probation office findings in the PSR, Russell
has not demonstrated any likelihood that he would

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have prevailed on such an objection. It would not
have been in his best interest to jeopardize the
bebefit he secured through entering a Plea Agree-
ment in pursuit of an improved guideline range,

which is discretionary.

In United States v Giraldo, 80 F.3d 667, 677 (2d Cir. 1996). The

 

Second Circuit explained that;
In order to impose an enhancement under §2D1.1(b)
(1), a district court need not find that the de-
fendant had personal possession or even acknowl-
edge that the weapon was present. The enhancement,

is required so long as the possession of the fi-
rearm was reasonably foreseeable to the defendant.

Petitioner's, affidavit supports that he did not possess a fire-
arm at anytime. Thus, the possession was not "reasonably foreseeable"
to him. Petitioner, suffered prejudice in that, theres a reasonable
probability had Petitioner, been made aware, that §2D1.1(b)(1), was

a discretionary sentencing enhancement.

Again see, Hill v Lockhart, 474 U.S. 52, 59 (1985);

 

Strickland v Washington, 466 U.S. 668, 694 (1984). At no time during

 

the plea colloquy was Petitioner, asked, “whether he knew or did Mr.
Foti, in form him about the discretionary aspect of the guidelines.
In the Government's answer. See, (Doc. 158, Page 10 and 11 of

12). The Government says in part;

Russell was not deprived of effective assistance
of counsel because Mr. Foti and this Court made
clear that by entering the Plea Agreement, he was
admitting to having possessed a firearm and agre-
eing to the application of §2D1.1(b)(1). Russell
has given this Court no reason to believe that
Mr. Foti, a well-respected and experienced mem-—

ber of the CJA panel of attorney's neglected his
responsibility to notify and educate Russell on

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all of the terms of the Plea Agreement and to en-
sure he understood them.

The above portion, is directly refuted with “common sense" Mr.Foti,
himself does not mention in his own *declaration" anything about
the discretionary aspect of the sentencing guidelines. Why does Mr.
Foti, not mention exactly how the "firearm" was reasonable foreseeable
to Petitioner?

Because Mr. Foti, and Government Counsel both know that Petitioner,
was never in possession of a firearm. Specifically, Petitioner suff-

"prejudice" theres a reasonable probability that, but for Mr. Fo-

ered
ti's unprofessional errors, in that, by failing to inform Petitioner,
That §2D1.1(€b)(1), was a discretionary sentencing enhancement he

would not have entered a plea, Mr. Foti, does not describe in his
declaration, how the firearm was reasonable foreseeable to Petitioner,
a review of the attached affidavit clearly shows that all Mr. Foti,
was really interested in was directing Petitioner, to sign a Plea
Agreement,

In the Government's answer. See, (Doc. 158, Page 10 and 11 of

12). The Government says in part;

Even if Court has concern that Mr. Foti failed
somehow to act-to negotiate a different plea
which did not include an agreement to the app-
lication of §2D1.1¢€b)(1), or to file an objec-
tion-Russell did not suffer prejudice because
evidence supporting the application of the en-
hancement was, and remains strong.

First, Petitioner, did suffer prejudice because the evidence was
not strong or did it exist. The "firearm" is not and could not be....,

charged in the indictment under §922(g)(1), and or §924(c). Petitioner,

was never in possession of a firearm.

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Second, the government should know that any amount of jail time,

has a Sixth Amendment Significance. See, Glover v United States, 531

 

U.S. 198 (2001). Thus, ( ~months), does make a big difference, and by
acknowledging that Petitioner, is in an incorrect guideline range the
error does affect his "substantial right's."
See, Molina-Martinez v United States, 136 S.Ct. 1338 (2016). In
The Government's answer. See, (Doc. 158, Page 11 of 12). The Govern-
ment, says in part;
Russell complains more generally that he - entered
a guilty plea "due to the erroneous misadvice of
trial counsel [w]lho failed to clearly go over
each aspect of the written plea agreement. Docket
132, p. 1. Based on Mr. Foti's declaration it is
clear that he was attentive to Russell as a cli-
ent having visited him in jail, having answered
questions about the PSR, and then proactively
advocating for revisions to the PSR with the U.S.
Probation Office based on Russell's request. See
Docket 155, at pp. 31-34. Russell's broad and
unsupported accusation that Mr. Foti, did not
go over the Plea Agreement with him is contra-

dicted by Russell's sworn statement to the Court
on the date of his plea.

Respectfully, this Honorable Court should take “judicial No-
tice" of exactly how the Government is "lying" to this Court Mr. Foti,
assisted the Government every step of the way in this case. A clear,
review of the "Plea Agreement" supports that Petitioner, was not made
fully aware of all of the direct consequences,

The correspondence filed by Petitioner, is direct proof that

Mr. Foti, was constitutionally ineffective violating Petitioner's 5th,

and 6th, Amendment Federal Constitutional Right's to the effective
assistance of counsel. See, Strickland v Washington, 466 U.S. 668

(1984).
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